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              IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:95CR79
                              )
          v.                  )
                              )
CLARENCE ROBINSON,            )             MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on three motions of

defendant Clarence Robinson, as follows:          first, for sentence

reduction pursuant to 18 U.S.C. § 3582(c)(2) and the Fair

Sentencing Act (Filing No. 197); second, for correction or

reduction of illegal sentence pursuant to Rule 35 of the Federal

Rules of Criminal Procedure (Filing No. 200); and third, to

correct or reduce illegal sentence pursuant to Rule 35 of the

Federal Rules of Criminal Procedure (Filing No. 202).             The Court

finds that the motions should be denied.

          On August 3, 2010, the Fair Sentencing Act of 2010 (the

“FSA”) effectively reduced the mandatory minimum sentences

required for convictions for possession with intent to distribute

certain amounts of crack cocaine.        Fair Sentencing Act of 2010,

Pub. L. 111-220, 124 Stat. 2372 (2010).         Robinson moves the Court

to reduce his life sentence, arguing that the FSA’s reduction in

mandatory minimums should be applied retroactively.
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          On September 20, 2010, during the first month after the

FSA was signed into law, the United States Court of Appeals for

the Sixth Circuit addressed the issue of whether the FSA’s

adjustment of mandatory minimums was retroactive.            United States

v. Carradine, 621 F.3d 575 (6th Cir. 2010).          There, the Sixth

Circuit first noted, “The ‘general savings statute’ requires us

to apply the penalties in place at the time the crime was

committed, unless the new enactment expressly provides for its

own retroactive application.”        Carradine, 621 F.3d. at 580

(citing 1 U.S.C. § 109).      However, “The new law at issue here,

the Fair Sentencing Act of 2010, contains no express statement

that it is retroactive nor can we infer any such express intent

from its plain language.”      Id.    Thus, the Sixth Circuit applied

the pre-FSA mandatory minimum in place at the time when the

defendant committed the crime.        Id.

          In United States v. Goncalves, 642 F.3d 245, 253 (1st

Cir. 2011), the First Circuit agreed with the Sixth Circuit on

the issue of retroactivity and, by this time, was able to cite

“ten other circuits [that] have considered this question and held

that the FSA is not retroactive.”           Goncalves, 642 F.3d at 253

(collecting cases).

          The Eighth Circuit agrees, citing “a series of recent

cases all holding that the Fair Sentencing Act of 2010 (FSA),

which increased the threshold amounts necessary to trigger


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mandatory minimum sentences in crack cocaine cases, is not

retroactive.”   United States v. Sidney, 648 F.3d 904, 905 (8th

Cir. 2011) (collecting 8th Circuit cases).          The Eighth Circuit

noted, “‘. . . [T]he Fair Sentencing Act contains no express

statement that it is retroactive, and thus the ‘general savings

statute,’ 1 U.S.C. § 109, requires us to apply the penalties in

place at the time the crime was committed.’”           Sidney, 648 F.3d at

906 (quoting United States v. Brewer, 624 F.3d 900, 909 n. 7 (8th

Cir. 2010); citing United States v. Smith, 632 F.3d 1043, 1047

(8th Cir. 2011)).

          On October 16, 1995, a jury found Robinson guilty of

Count I of the indictment dated June 14, 1995, namely, conspiracy

to distribute and possession with intent to distribute cocaine

base pursuant to 21 U.S.C. §§ 841(a)(1) and 846.            Before the

trial had begun, the government filed an information regarding

the intent to rely on two prior felony convictions under

21 U.S.C. § 851(a)(1).

          On March 1, 1996, this Court held a sentencing hearing,

where the Court found that Robinson would be held responsible for

83 ounces of crack cocaine.       Applying 21 U.S.C. § 841 as it

existed at the time of Robinson’s crime, the mandatory minimum

sentence was life in prison because Robinson was responsible for

more than fifty grams of crack cocaine and had two prior

convictions for felony drug offenses.         According to the holdings


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of the Eighth Circuit, the FSA does not apply retroactively, and

the mandatory minimum sentence of life in prison still applies.

Consequently, Robinson’s first motion must be denied.

           Robinson’s second and third motions raise issues that

should have been raised on appeal and are not properly before the

Court.   The Court will deny these motions.         A separate order will

be entered in accordance with this memorandum opinion.

           DATED this 24th day of April, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court




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